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     EXHIBIT 26
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Wealth Management Office
28 Hennessy Road,
Wan Chai, Hong Kong
                                                                                             -   irst Eastern
                                                                                              nvestments Limited
.    -
S A.R China


On The Web: www.investmentsfirsi .com
Email Inquiries: infa a investmentsfirst.com




Our Reference: RCP-SHAHEG-13
                                                                                         Account Representative: Peter Lynd
Ming Global Limited
1206 Eastern Commercial Centre,
397 Hennessey Road ,
Wan Chai, Hong Kong                                                                                    iiiiiiii
                                               TRANSACTION RECEIPT
TRANSACTION OVERVIEW:

          Transaction Reference:                               2020-SH -471243-INV

          Transaction Type:                                    Purchase

          Securities / Quantity / PPS ($)                      NASDAQ: RPRX WARRANTS / 300,000 / $19.00

          Commission Rate:                                     N /A

          Total Transaction Value:                            $5,700,000.00


RECEIPT INFORMATION:

          Amount Credited To Account:                          $ 242,945.40

          Date Credited:                                       July 17, 2020


ACCOUNT CREDIT CONFIRMATION:

                                                                                                       tern
                                                                                                      Limited


                                                                                                          W
           If you have any questions or believe that the above information is incorrect please consult your
                                        Account Representative immediately.



            Thank you for your business. We look forward to working with you and helping you to achieve
                                                           your investment objectives.



First Eastern Investments — A Trading Name of First Eastern Ltd.                                       Company License & Registration
Balanced U ealth Management Through Genuine Experience                                                                      020S2S 9
